Case 1:19-cv-00566-GPG Documenti1-1 Filed 02/26/19 USDC Colorado Page 1 of 19

FILED

UNITED STATES DISTRICT COURT
DENVER. COLORADO

UNITED STATES DISTRICT COURT __ FEB #6 2019
. JEFFREY P. COLWELL

for the CLERK
District of Colorado

 

BY: JULIE KAYE EMBRY
IN BEHALF OF: BRUCE ALLEN DOUCETTE
IDENTIFICATION # 0000864076

 

Case No.
PETITIONER
Vv. MEMORANDUM IN SUPPORT
OF Original WRIT OF HABEAS
BARRY GOODRICH, WARDEN OF CORPUS (TITLE 28 USC 2241)

CROWLEY COUNTY CORRECTIONAL
FACILITY, a.k.a. “CCCF”
OLNEY SPRINGS, COLORADO

RESPONDENT

MEMORANDUM

Julie Kaye’ Embry, in behalf of BRUCE ALLEN DOUCETTE, is entitled, 28 USC 2241-
2254, to petition this Court, in the furtherance of justice, for The Original Writ of Habeas Corpus
on the grounds that BRUCE ALLEN DOUCETTE, hereinafter “Bruce”, is being unlawfully
detained in custody by Respondent in CCCF, address above, “pursuant to the judgment of a State
Court in violation of The United States of America’s Constitution and its laws and treaties. Title
28 USC 2254(a).

Being that the Constitutional violations are perpetrated by the State Court, it is evident
that Petitioner must seek justice in this honorable District Court as the circumstances exist that
render any process in a State Court ineffective to protect the Constitutional rights of Bruce. Title

28 USC 2254(b)(1)(B)(ii).

Original WRIT OF HABEAS CORPUS for the body of BRUCE ALLEN DOUCETTE 1
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 2 of 19

The adjudication of the State Court resulted in a decision that was contrary to clearly
established Federal law determined by the Supreme Court, discussed later in this memorandum.
Title 28 USC 2254(d)(1). A certified copy of the “indictment”, “Motion For Advisory Counsel
To Be Appointed” and a certified copy of the State Court’s Order “Motion For Advisory Counsel
To Be Appointed DENIED” are submitted into evidence, in/on/for the record, and attached to
this memorandum clearly marked “Evidence 1”, “Evidence 2” and “Evidence 3”. Title 28 USC
2254(g).

STATEMENT OF FACTS

1. On January 11, 2018, upon the request of Bruce Doucette, while detained, a “Motion for
Advisory Counsel To Be Appointed” was offered to and accepted by the clerk who then filed the
motion, see attached.

2. A copy of said motion was timely served upon Robert S. Shapiro, District Attorney.
Shockingly on or about January 16, 2018, Robert S. Shapiro, Colorado Bar #26869, filed an
objection to the, constitutionally guaranteed, Motion for Advisory Counsel To Be Appointed,
weakly claiming that Bruce can not ask or authorize a friend to type a document for him (since
Bruce was in chains a somebody had to help him for goodness sakes!), see attached.

3. On February 26, 2018 Michael Spear, District Judge, in contempt of justice, coerced and
confounded Bruce in court, and then DENIED the constitutionally guaranteed Motion for
Advisory Counsel To Be Appointed, see attached.

4, On February 27, 2018 the criminal trial by jury commenced without Bruce having
assistance of counsel, thanks to the Court’s violation of the Constitution.

5. The unfair jury trial concluded, to wit Bruce, naked of assistance of counsel, failed

miserably to withstand the well-versed and well-seasoned District Attorney’s blows, naturally in

Original WRIT OF HABEAS CORPUS for the body of BRUCE ALLEN DOUCETTE 2
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 3 of 19

a conviction. The Court might have just as well thrown Bruce into the lion’s den, he never stood
a chance; and, the Court and the District Attorney knew this would be the outcome if Bruce’s
motion for assistance of counsel was denied, a conspiracy if you ask me.

6. Furthermore, Bruce was again naked of assistance of counsel in court for sentencing.

7. Respondent is left holding the bag, guilty of unconstitutional imprisonment, as a result of
the Court’s unconstitutional denial of the “assistance of counsel”. The Court’s Constitutional
violations have left Respondent holding the bag and in a very precarious position of potential

criminal liability but certain commercial liability for a fact. (As a side note, Respondent should

 

be informed, to be fair, that The Supreme Court has awarded as much as $1,086.00 PER
MINUTE of unlawful incarceration......). The State Court has knowingly and willfully left
Respondent open and subject to collateral attack.

8. Although quite some time has passed since sentencing, and the appeal opportunity long
gone, I, Petitioner filing in behalf of Bruce, began to research the Court’s appalling denial of the
assistance of counsel. It did not take me but a shallow dive into the research to find a lot of
Supreme Court decisions proving exactly what my gut had told me... THIS IS VERY WRONG.
As this Court well knows that the Supreme Court, who’s decisions this Court is bound to, agrees
with me and has made ruling after ruling that it IS INFACT VERY WRONG for a Court to deny
counsel because counsel is a Constitutional Right that cannot be denied when jail time is a

possibility.

SUPPORTING LAW - POINTS OF AUTHORITY

1. The court cannot act in violation of an administrative constitutional or statutory

limitations of its powers or it is in contempt of justice, administrative or otherwise. The trial

Original WRIT OF HABEAS CORPUS for the body of BRUCE ALLEN DOUCETTE 3
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 4 of 19

judge and court has a duty and-responsibility to safeguard defendant’s rights with great care.
The right to counsel in a criminal proceeding is one of the most fundamental rights guaranteed
by the U.S. Constitution and violations of this right creates the absolute necessity of reversal of a
conviction. The sixth amendment states, “in all criminal prosecutions, the accused shall enjoy

the right...to have the Assistance of Counsel for his defense.”

2. The Supreme Court first ruled on the issue of indecent defense in Powell v. Alabama, 287
U.S. 45 (1932), which held, in part, that the state denied the defendants’ due process rights by
not providing access to counsel, despite the defendants’ inability to pay legal fees. The US.
Supreme Court applied the sixth amendment right to counsel to the states in Gideon v.
Wainwright, 372 U.S. 335 (1963), although the decision only applied to felony cases. The Court
later found a right to counsel in state juvenile criminal cases under In re Gault, 387 U.S. 1 (1967)
and in state proceedings that risk “the actual deprivation of a person’s liberty” under Argersinger
v. Hamlin, 407 U.S. 25, 40 (1972). Since the Gideon decision, the Supreme Court has held that
state courts must appoint counsel in misdemeanor cases that carry the possibility of substantial
jail or prison sentences. This applies even when the defendants specific circumstances carry no
actual risk of confinement, such as when a defendant was facing, at worst, a suspended sentence

of more than one year, Alabama v. Shelton, 535 U.W. 654 (200).

3. The right to counsel applies to people in pre-trial matters “from the time of their
arraignment until the beginning of their trial.” Brewer v. Williams, 430 U.S. 387, 398 (1977).
Once the defendant asserts the right to counsel no officer can continue without the presence of

counsel. Messiah v. United States, 377 U.S. 201 (1964).

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4, The right to counsel has applied in federal prosecutions for most of the nation’s history,
but did not extend to all state-level felony cases until the U.S. Supreme Court decided Gideon v.
Wainwright, 372 U.S. 335 (1963). The Court later expanded the right to counsel to state-level
misdemeanor cases that carried a substantial risk of jail time, usually at least one year. The right
to counsel is included in Miranda v. Arizona, 384 U.S. 436 (1966) and requires all officers to
cease once a person has invoked the right to counsel and it holds that anything after is

inadmissible in court.

5. The California Legislature passed the Foltz Defender Bill in 1921 creating legislation that
requires a defense “without expense to them, all persons, who are not financially able to employ
counsel and who are charged with the commission of any contempt, misdemeanor, felony or

other offense”.

8. Deprivation of a defendant’s right to counsel, or denial of a choice of attorney without
good cause should result in the reversal of the defendant’s conviction, according to the US.

Supreme Court. United States v. Gonzalez-Lopez, 548 U.S. 140 (2006).

9. The court and Michael Spear, hereinafter “Spear”, in his fiduciary capacity, have

committed anti-trust violations. Spear, because of the special legal relationship, is in breach of

trust of his duty of care.

Original WRIT OF HABEAS CORPUS for the body of BRUCE ALLEN DOUCETTE 5
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10. Spear has taken an oath, evidence of an expressed trust, to uphold the Constitution Of
The United States and the Constitution Of The State Of Colorado. Both constitutions guarantee
the accused the right to the assistance of counsel. Spear must accord to every person who has a
legal interest in a proceeding the right to be heard according to the law; the law here being the
US Constitution and the State of Colorado’s Constitution as well as the rules cited in the Motion

for Advisory Counsel To Be Appointed. This is a willful and serious miscarriage of justice.

11. Furthermore, Spear, an Administrator of Justice/agency, operating under the
Administrative Procedure Act of 1946, Public Law 404-79" Congress, Chapter 324-2D Session
S. 7, is in violation of section twelve of the APA which states, “Nothing in this Act shall be held
to diminish the constitutional rights of any person or to limit or repeal additional requirements

imposed by statute or otherwise recognized by law.”

12. | The ABA Criminal Justice Standards Regarding Special Functions of the Trial Judge
provide specific guidance about what it means to “administer justice” by stating the “trial judge
has the responsibility for safeguarding both the rights of the accused and the interests of the
public in the administration ‘of. criminal justice.”, see STANDARDS FOR CRIMINAL
JUSTICE: SPECIAL FUNCTIONS OF THE TRIAL JUDGE Standard 6-1.1(a) (AM BAR
ASS’N 2000). SFCJ goes on to further explain, “The adversary nature of the proceedings does
not relieve the trial judge of the obligation of raising on his or her initiative, at all appropriate
times and in an appropriate manner, matters which may significantly promote a just

determination of the trial.”

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13. The responsibility of a trial judge is to safeguard the rights of the accused, and the SFCJ
admonishes and inform trial judges that he or she has an affirmative obligation to see that justice
is done. A trial judge “does not serve his purpose or function by being merely an umpire, a
referee, a symbol, or an ornament”, “Rather, legal discretion has been vested in the trial judge to
do or cause to be done...all things reasonably necessary as the particular cause requires to
promote the ends of justice”, (A trial Judge’s Credo Must Include His Affirmative Duty to Be An
Instrumentality of Justice, 7 SANTA CLARA L. REV. 6, 7, 8, 9 (1966)). Effective legal
assistance/representation is essential to a fair trial. The U.S. Supreme Court recognized that “in
our adversary system of criminal justice, any person haled into court, who is too poor to hire a
lawyer, cannot be assured a fair trial unless counsel is provided for him.” Gideon v Wainwright,
372 U.S. 335, 344 (1963). A judge who fails to ensure effective assistance of counsel is actually

a negative actor working against the interest of justice and the rights of the accused.

14. The right to the assistance of counsel is an unquestionable right per the sixth amendment
of the US Constitution. Court appointed attorneys are required, when requested, “if jail time is
possible” and the state has a disability to proceed when a conviction will result in jail time if the
defendant has asserted his or her right to counsel and has been denied. By a trial judge denying
the request for assistance of counsel that judge cannot give jail time as a part of the sentence or
the judge commits a constitutional violation. The trial judge is tasked with the fundamental duty
and responsibility of ensuring the integrity of the adversary trial system and the administration of
justice; and, by Spear’s denial of the Advisory Counsel he has brought the judicial office into

disrepute.

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Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 8 of 19

PRAYER FOR RELIEF

 

The imprisonment of BRUCE ALLEN DOUCETTE is illegal, unlawful and
unconstitutional and for the good cause and Constitutional violations stated herein JULIE KAYE
EMBRY, in behalf of BRUCE ALLEN DOUCETTE, hereby moves any Judge of any Court to
forthwith award or grant this Writ of Habeas Corpus or to order Respondent to file a certified
“return” within three days to show cause why the Writ of Habeas Corpus should not be granted;
and, upon Respondent’s return immediately set this matter for hearing, not more than five days
after the return, to hear and determine the facts and dispose of the matter as law and justice
requires, unless for good cause additional time is requested and granted; and, that additional time

granted does not exceed twenty days. 28 USC 2243

Tender of Payment accepted for anticipated honest services and under seal contract established with an arbitration clause

Executed Honorably On: February 19, 201 JA

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By! C ol
By Lacon EMBRY,E
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In Behalf of:

BRUCE ALLEN DOUCETTE 0000864076
Crowley County Correctional Facility,
6564 Highway 96,

Olney Springs, CO 81062

Original WRIT OF HABEAS CORPUS for the body of BRUCE ALLEN DOUCETTE 8
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(5 PAGES TOTAL)
SUBMITTED INTO EVIDENCE
MOTION FOR ADVISORY COUNSEL TO BE APPOINTED

AS “EVIDENCE 1”
Case 1:19-cv-00566-GPG Document1-1 Filed 02/26/19 USDC Colorado Page 10 of 19

 

 

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DISTRICT COURT, COP Y-CRIM -
CITY AND COUNTY OF DENVER, COLORADO oma JAM |} PE [Ds om
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Denver, Colorado 80204
Petitioner/Plaintiff:
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Respondent/Co-Petitioner/Defendant:

Bruce No Uucete Case Number:
Z011-CR-l008F

 

Attorney or Party Without Attorney: (name and address)

 

Bruce uw cethe Courtroom:
Phone number:(720) 705-57 42
Fax Number: uf G-
Email: Shields K68@ Yahoo. cam
Atty Reg #:

 

 

 

Motion Foc pdvisora Counsel To be foprinted

 
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Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 11 of 19

FOR PUBLICATION MAII. BOX RUL EIN EREECT -
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District Court, City and County of Denver Colorado COP Y- CRIKE

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THE PEOPLE OF THE STATE OF COLORADO,
Accusers
immediate Disposition
Vv. CRCrP Rule 121, Sec. 1-15(4)
Motion for Advisory Counsel To Be Appointed

BRUCE DOUCETTE, Memorandum In Support Of
Accused.
GJ Case No.: 16CROO1

Case * 2011-CR-f0024

1
Motion for Advisory Counsel To Be Appointed
The accused certifies that this filing is timely. Immediate Disposition in accordance with Colorado

Rules of Civil Procedure, Rule 121, Sec. 1-15(4); or an Expedited Hearing Requested in accordance

with 40 CFR 164.121.

The assertion of federal rights, when plainly and reasonably made, is not to be defeated under the

name of local practice. [Davis v. Wechsler, 263 US 22, 24.]

Federal Law and Supreme Court Cases apply to State Court Cases. Howlett v. Rose, 496 US.

356 (1990)

The accused, having the right and desire to conduct his-own defense, requires assistance with legal
research before trial and with issues that may occur during trial. The requested advisory counsel

would aid the accused ifand when the accused requests help.

The accused reserves and retains ultimate authority as to the presentation of the case. The accused
reserves and retains ultimate control of the theory of the defense, pretrial motions, the actual
presentation at trial as weil as retains ultimate command of the case. At no time shall the advisory

counsei have anv decision-making authority with regard to the presentation of the case.

Motion For Advisory Counse! To Be Appointed 1}
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 12 of 19

District Court, City and County of Denver Colorado
1437 Bannock Street
Denver Colorado

THE PEOPLE OF THE STATE OF COLORADO,
Accusers
Immediate Disposition
V. CRCrP Rule 121, Sec. 1-15(4)
Motion for Advisory Counsel To Be Appointed

BRUCE DOUCETTE,
Accused. GJ Case No.; 16CRO01

I.
Motion for Advisory Counsel To Be Appointed
The accused certifies that this filing is timely. Immediate Disposition in accordance with Colorado

Rules of Civil Procedure, Rule 121, Sec. 1-15(4); or an Expedited Hearing Requested in accordance

with 40 CFR 164.121.

The accused, having the right and desire to conduct his-own defense, requires assistance with legal
research before trial and with issues that may occur during trial. The requested advisory counsel

would aid the accused if and when the accused requests help.

The accused reserves and retains ultimate authority as to the presentation of the case. The accused
reserves and retains ultimate control the theory of the defense, pretrial motions, the actual
presentation at trial as well as retains ultimate command of the case. At no time shall the advisory

counsel have any decision-making authority with regard to the presentation of the case.

Il.
Points and Authorities
“In all criminal prosecutions, the accused.shall enjoy the right...to have the Assistance of Counsel for
his defense.” Article II, section 16 of The Constitution for The United States of America. The right to
counsel is also acknowledged by state statute, Colorado Revised Statute 21-101 et seq. The discretion
of the trial court to make such an appointment of advisory counsel is now well established, People v.

Garcia, 64 P.3d 857 (Colo.App. 2002).

Motion For Advisory Counsel To Be Appointed 1
Case 1:19-cv-00566-GPG Documenti1-1 Filed 02/26/19 USDC Colorado Page 13 of 19

Although there is no federal or state constitutional right to advisory counsel it is the courts duty and
obligation to provide the detained access to the court and the clerk. The accused is currently
obstructed from accessing the court or the clerk and therefore cannot make timely filings of pretrial
motions etc. The accused, being detained, is conveniently placed at a disadvantage, by this very court,

which gives the advantage to the prosecutor.

Colorado Supreme Court discussed the power of the trial court to appoint advisory counsel. Reliford v.

People, 579 P.2d 1145 (Colo.App. 1978).

The American Bar Association approves the authority to appoint advisory counsel. (ABA) Standards

for Criminal Justice (Standards) 6-3.7 (2d ed 1980 & Supp. 1986).

In Reliford v. People the Standards recommend that a trial court should consider appointing advisory
counsel whenever a defendant elects to proceed without an attorney, and should appoint advisory

counsel whenever a case is complicated.

The authority of a trial court to appoint advisory counsel also stems from the inherent authority of the

trial court to run trials in a manner that ensures the proceedings are fair.

It is the judge’s duty to ensure that the case progresses in an orderly fashion. United States v. Mack,

362 F.3d 587 (9 Cir. 2004).

Ill.
Conclusion -
The accused requested his constitutionally protected right to counsel by way of the court appointing
advisory counsel which would facilitate the accused's right to access to the court and the clerk. In the
alternative, the accused requires to be released immediately, on his honor, to allow him his legal and

lawful due process and full and unfettered access to the court and the clerk.

Respectfully submitted,

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BRUCE DOUCET
By ae '

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Motion For Advisory Counsel To Be Appointed
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 14 of 19

CERTIFICATE OF SERVICE

Notice: notice to the agent is notice to the principle; notice to the principle is notice to the agent;

| hereby certify that on the | i day of W amu Bs , 2018, | served Rober + Sha Di LO

MNohion for Advisory Come!
1300 Broadway Case # 2017-CR- nos?
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Denver Co
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by the following method or methods as indicated:
{ ) by mailing to said person(s) a true copy thereof, said copy placed in a sealed envelope, postage prepaid and
addressed to said person(s) at the last known address for said person(s) as shown above, and deposited in the Post

Office at Crane, Oregon State, on the date set forth above.

( ) _ by causing a true copy thereof to be hand delivered to said person(s) at the last known address for said

person(s) as shown above, on the date set forth above.

BY by mailing via certified mail, return receipt requested, to said person(s) a true copy thereof, said copy

placed in a sealed envelope, postage prepaid and addressed to said person(s) at the last known address for said
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person(s) as shown above, and deposited in the Post Office at 5 753 3S Pr ince .st __ onthe date set

forth above.

{ ) by facsimile to said person(s) a true copy thereof at the facsimile number shown above, which is the last
known facsimile number for said person(s) on the date set forth above. A copy of the confirmation report is

attached hereto.

( } by email to said person at above addresses.

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Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 15 of 19

(1 PAGE TOTAL)
SUBMITTED INTO EVIDENCE
MOTION FOR ADVISORY COUNSEL TO BE APPOINTED DENIED

AS “EVIDENCE 2”
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 16 of 19
RID: D0162017CRO10089-000155

 

 

. Print Minute Orders 2/15/19 9:33 AM
Status: RSTD MROG CLSD District Court, Denver County
Case #: 2017 CR 010089 Div/Room: 5A Type: Bribery - Tampering
__ The People of the State of Colorado vs. DOUCETTE, BRUCE A

FILE DATE EVENT /FILING/ PROCEEDING
2/26/2018 Minute Order (print)
JUDGE: MJS CLERK: REPORTER:
JUDGE MICHAEL SPEAR CTR REPORTER: #2909 JURY TRIAL.

APPEARS: DEF IN CUSTODY PRO SE, AG ROBERT SHAPIRO, AG COLLEEN WORT.
AGENT RYAN ENGLISH & INVESTIGATOR CHRIS BYRNE.

JURISDICTION IS ADDRESSED.

COURT FINDS IT HAS JURISDICTION.

DEF MOTION TO DISMISS IS DENIED BY THE COURT.

MOTION TO CONTINUE ADDRESSED,

COURT DENIES THE CONTINUANCE REQUEST.

MOTION TO COMPEL DENIED BY THE COURT.

MOTTON TO APPOINT ADVISORY COUNSEL ADDRESSED.

COURT DENIES THE MOTION TO APPOINT ADVISORY: COUNSEL.

THE COURTROOM IS CLEARED & THE JURORS COMPLETE THEIR QUESTIONNAIRES.
PRELIMINARY MATTERS ADDRESSED.

CASE PASSED UNTIL 12:45PM.

COURT REPORTER #41567

JURY SELECTION BEGINS.

ALTERNATE JURORS 13 & 14.

JURY IS SELECTED.

JURY GIVEN OATH OF OFFICE.

ADVISEMENT.

CASE CONCLUDED UNTIL TOMORROW.

/ JAB / JAB

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SUBMITTED INTO EVIDENCE
INDICTMENT

AS “EVIDENCE 3”
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 18 of 19

 

DISTRICT COURT, CITY AND COUNTY OF DENVER,
COLORADO

DATE FILED: April 3. 2017 10:34 AM
1437 Bannock Street r pn

Denver, CO 80202
THE PEOPLE OF THE STATE OF COLORADO,

 

Vv.

BRUCE DOUCETTE,
STEPHEN NALTY,
JANIS BLEASE,
STEVEN BYFIELD,
LAURENCE GOODMAN,
DAVID COFFELT,
HARLAN SMITH,

and

BRIAN BAYLOG

Defendants. “ COURT USE ONLY +
CYNTHIA H. COFFMAN, Attorney General Case No.:

ROBERT S. SHAPIRO, First Assistant Attomey General .
1300 Broadway, 9" Floor GJ Case No.: 16CRO01
Denver, CO 80203
720-508-6000 Ctrm: 259
Registration Number: 26869 ‘

COLORADO STATE GRAND JURY INDICTMENT

Of the 2016-2017 term of the Denver District Court in the year 2017; the 2016-
2017 Colorado State Grand Jurors, chosen, selected and sworn in the name and by the
authority of the People of the State of Colorado, upon their oaths, present the following:

 

 

 

 

 

 

COUNT | COCCA-Pattern of Racketeering- Participation in an Enterprise,
§18-17-104(3), C.R.S. (F2) 37284

COUNT 2 COCCA-Conspiracy, §18-17-104(4), C.R.S. (F2) 37285

COUNT 3 Attempt to Influence a Public Servant, §18-8-306, C.R.S. (F4) 24051
COUNT 4 Attempt to Influence a Public Servant, §18-8-306, C.R.S. (F4) 24051
COUNT 5 Attempt to Influence a Public Servant, §18-8-306, C.R.S. (F4) 24051

COUNT 6 Attempt to Influence. Public Servant, §18-8-306, C.R.S. (F4) 24051

,_ city & County of Denver, Colo.
Certified to be a full, true and correct
copy of the originat in my custody.

NOV 2 9 2017

CLERK OF THE DISTRICT COURT

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By_ Cte =
Deputy Clerk-

 
Case 1:19-cv-00566-GPG Document 1-1 Filed 02/26/19 USDC Colorado Page 19 of 19

CERTIFICATE OF SERVICE

Notice: notice to the agent is notice to the principle; notice to the principle is notice to the agent;
) hereby certify that on the 20TH___ day of __ FEBRUARY___, 2019, | served PETITION FOR WRIT OF HABEAS
CORPUS AND SUPPORTING MEMORANDUM AND SUBMITTED EVIDENCE upon:

BARRY GOODRICH

 

WARDEN OF CCCF

 

6564 HIGHWAY 96

 

OLNEY SPRINGS, CO 81062

 

by the following method or methods as indicated:

( ) by mailing to said person(s) a true copy thereof, said copy placed in a sealed envelope, postage prepaid and
addressed to said person(s) at the last known address for said person(s) as shown above, and deposited in the Post

Office at Crane, Oregon State, on the date set forth above.

( ) by causing a true copy thereof to be hand delivered to said person(s) at the last known address for said

person(s) as shown above, on the date Set forth above.

(X) by mailing via certified mail, return receipt requested, to said person(s) a true copy thereof, said copy
placed in a sealed envelope, postage prepaid and addressed to said person(s) at the last known address for said

person(s) as shown above, and deposited in the Post Office at Crane, Oregon State, on the date set forth above.

( ) by facsimile to said person(s) a true copy thereof at the facsimile number shown above, which is the last
known facsimile number for said person(s) on the date set forth above. A copy of the confirmation report is

attached hereto.
( ) by email to said person at above addresses.

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